Case 3:23-cv-00350-HTW-LGI Document 3-2 Filed 05/31/23 Page 1 of 11




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Case 3:23-cv-00350-HTW-LGI Document 3-2 Filed 05/31/23 Page 2 of 11
Case 3:23-cv-00350-HTW-LGI Document 3-2 Filed 05/31/23 Page 3 of 11
Case 3:23-cv-00350-HTW-LGI Document 3-2 Filed 05/31/23 Page 4 of 11
Case 3:23-cv-00350-HTW-LGI Document 3-2 Filed 05/31/23 Page 5 of 11
Case 3:23-cv-00350-HTW-LGI Document 3-2 Filed 05/31/23 Page 6 of 11
Case 3:23-cv-00350-HTW-LGI Document 3-2 Filed 05/31/23 Page 7 of 11
Case 3:23-cv-00350-HTW-LGI Document 3-2 Filed 05/31/23 Page 8 of 11
Case 3:23-cv-00350-HTW-LGI Document 3-2 Filed 05/31/23 Page 9 of 11
Case 3:23-cv-00350-HTW-LGI Document 3-2 Filed 05/31/23 Page 10 of 11
Case 3:23-cv-00350-HTW-LGI Document 3-2 Filed 05/31/23 Page 11 of 11
